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                        UNITED STATES DISTRICT COURT
                          DISTRICT OF CONNECTICUT
________________________________
Fr. BERNARD PAUL CHAMPAGNE          :    Case No. 3:20-cv-00674 (AVC)
       Plaintiff,                   :
                                    :
v.                                  :
                                    :
DR. AMIR MOHAMMAD, in his official :     Jury Trial Demanded
capacity as the TOWN OF ORANGE      :
DIRECTOR OF HEALTH                  :
       Defendant.                   :
_________________________________   :    Date: June 19, 2020

             PLAINTIFF’S SECOND AMENDED COMPLAINT FOR
         DECLARATORY RELIEF, INJUNCTIVE RELIEF, AND DAMAGES

                                          THE PARTIES
   1. Father Bernard Paul Champagne (“Father Bernard”) is 87 years old. He has been an

      ordained priest for almost five decades. For the past sixteen years, Father Bernard has led

      a small congregation at the Our Lady of Sorrows Church, which is located at 378 Spring

      Street, Orange, Connecticut, where he resides (the “Church”).

   2. Defendant Dr. Amir Mohammad is the Director of Health for the Town of Orange Health

      Department, which is located at 617 Orange Center Road, Orange, Connecticut. He is sued

      in his official capacity as the Director of Health for the Town of Orange.

                                    JURISDICTION AND VENUE
   3. This action arises under the First and Fourteenth Amendments to the United States

      Constitution and is brought pursuant to 42 U.S.C. § 1983 in relation to Defendant’s

      depriving Father Bernard of his constitutional rights.

   4. This Court has subject-matter jurisdiction pursuant to 28 U.S.C. §§ 1331 and 1343 because

      this is a civil rights action that arises under the Constitution of the United States.
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5. Venue is proper in this Court under 28 U.S.C. § 1391(b)(1) and (2). This Court is authorized

   to grant the requested declaratory and injunctive relief under 28 U.S.C. §§ 2201-02 and

   § 1343(a), respectively.

6. This Court is authorized to grant Father Bernard’s request for attorneys’ fees and costs

   under 42 U.S.C. § 1988.

                                 FACTUAL ALLEGATIONS
7. On March 12, 2020, in response to the COVID-19 pandemic, Governor Lamont, issued

   Executive Order No. 7 that, among other things, prohibits social gatherings of 250 people

   or more. This order provides, though, that “nothing [herein] shall prohibit any spiritual

   gathering or worship service.” A true and correct copy of this order is attached as Ex. A.

8. Several days later, Governor Lamont issued Executive Order No. 7D that, among other

   things, amends Executive Order No. 7 by prohibiting social gatherings of 50 people or

   more. This order expressly allowed “religious, spiritual or worship gatherings” subject to

   the 50-person limitation. A true and correct copy of this order is attached as Ex. B.

9. On March 16, 2020, Defendant Dr. Amir Mohammad, in his role and capacity as the Town

   of Orange’s Public Health Director, issued and published a Directive entitled “Decisions

   Regarding Cancellation of Congregational Prayers and Religious Events in Town of

   Orange due to Coronavirus (COVID-19) Pandemic” (the “Directive”). A true and correct

   copy of the Directive is attached as Ex. C.

10. Defendant acted under the color of state law when he published the Directive. The

   Directive arbitrarily announces that “all devotional or religious acts such as daily and

   weekly congregational prayers, and other religious gatherings shall be canceled until

   further notice.” (emphasis in original). It explains that these measures are necessary “to



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   limit community transmission of Coronavirus pandemic through people contact and large

   gatherings at these religious buildings located in the town of Orange.”

11. The Directive neither accounts for nor allows any safety measures taken by religious

   institutions to mitigate the spread of Covid-19, such as social distancing, hand sanitizing,

   and compliance with the limitations imposed by Executive Order No. 7D.

12. Despite its purported objective to limit virus transmission, the Directive singles-out

   religious gatherings because it does not apply to non-religious or secular gatherings. In

   fact, since the State of Connecticut declared a public health and civil preparedness

   emergency on March 10, 2020, the Town of Orange has not, upon information and belief,

   prohibited any secular gatherings that would otherwise be lawful under Governor Lamont’s

   Executive Orders. Many retail establishments, for example, have remained open, freely

   facilitating public gatherings, subject to the Governor’s Executive Orders.

13. To date, despite the upheaval caused by the Covid-19 pandemic, Governor Lamont has

   never sought to prohibit religious gatherings. Indeed, on March 26, 2020, he issued

   Executive Order No. 7N, which, among other things, modified Executive Order No. 7D to

   prohibit social and recreational gatherings exceeding 6 people. Tellingly, though,

   Executive Order No. 7N exempts “religious, spiritual or worship gatherings” from these

   more restrictive limitations. A true and correct copy of this order is attached as Ex. D.

                    Defendant’s Explicit and Intentional Discrimination
                     Toward Religious Exercise, Speech, and Assembly

14. In April 2020, Defendant caused the Town of Orange Police Department (the “Police

   Dept.”) to enforce the Directive against Father Bernard and the Church. During a phone

   call between the Police Dept. and Father Bernard, the Police Dept.—citing the Directive—

   ordered Father Bernard to immediately close the Church and ban public admission until

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   further notice. The practical implication of the Directive, and this phone call from the

   Police Dept., was that Father Bernard could not—under any circumstances—perform in-

   person religious services for his congregants, such as last rites, confession, and daily

   communion.

15. Father Bernard perceived the Police Dept.’s instruction, that he must immediately close the

   Church and ban public admission until further notice, as having been conveyed with a

   hostile, menacing tone. He thus developed an actual and well-founded fear that he was

   threatened with being arrested and prosecuted if he did not comply with the Directive. This

   afflicted Father Bernard with a sense of helplessness and emotional torment.

16. The Directive purposefully and without justification singles-out religious institutions and

   subjects them to a discriminatory scheme that cannot pass constitutional muster under any

   set of facts. This action thus presents a facial and as-applied challenge to the Directive.

                     Defendant’s Unlawful Directive Deprived Father
                 Bernard of Privileges under the United States Constitution

17. Father Bernard’s vocation was settled from an early age. For seven decades, Father Bernard

   has devoted his life to serving the catholic church and espousing the word of God. After

   graduating from high school, Father Bernard pursued monasticism for over a decade where

   he immersed himself in the teachings of traditional Catholicism and religious scripture.

18. After obtaining priesthood, Father Bernard moved to Orange, Connecticut, around sixteen

   years ago, and agreed to serve as the Church’s priest. Since then, Father Bernard has served

   a consistent and committed congregation who have become accustomed to—and at times,

   dependent on—his unique religious counsel and services. Father Bernard champions

   traditional catholic values. He conducts his religious services in Latin and provides

   congregants with tireless commitment and energy. He offers comfort and healing during

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   times of hardship and elation during times of rejoice. Father Bernard believes that his

   priesthood imbues him with a duty to serve his congregation and facilitate their journey

   toward God.

19. The Directive forced Father Bernard to abandon his congregation and the catholic church’s

   foundational precept of collective worship. Indeed, because the Directive proscribes all

   “religious gatherings” and “[r]eligious [e]vents,” Father Bernard could not even perform

   in-person religious services away from the Church, anywhere in the Town of Orange.

   Defendant ensured that the Directive cut-off all religious activity. Yet remarkably, the

   Directive did not curtail any secular or non-religious activity. This double-standard is

   antithesis to religious freedom and strikes at the heart of the First and Fourteenth

   Amendments to the United States Constitution.

20. On or around May 20, 2020, Defendant issued a revised Directive that “religious

   institutions and house[s] of worship” could resume gatherings of 50 people or less (the

   “Revised Directive”). Even so, this about-turn does not remedy the past harm and injury

   occasioned to Father Bernard, and does not provide any measure of certainty that

   Defendant will not again—under the guise of executive authority—disparately and

   discriminatorily outlaw religion and religious exercise in the Town of Orange.

21. The hostile religious discrimination caused by the Directive has harmed and injured Father

   Bernard, and those similarly situated, by preventing and prohibiting him from enjoying,

   exercising, and fulfilling the vocation, calling, purpose and spirit of his fundamental

   guiding religious values and core beliefs.




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                                   CLAIMS FOR RELIEF

        Count One – Violation of the First Amendment Freedom of Assembly Clause
22. Father Bernard incorporates all allegations contained in paragraphs 1-21 as if fully set forth

   herein.

23. Defendant acted under the color of state law when he issued the Directive. The Directive,

   and Defendant’s enforcement thereof, violate the First Amendment, both facially and as-

   applied to Father Bernard. By denying Father Bernard the ability to conduct religious

   services—abridging his right to peacefully assemble—Defendant has violated the First

   Amendment’s Freedom of Assembly Clause.

24. Father Bernard has sincerely held religious beliefs including that scripture is the Word of

   the Lord, that Jesus Christ is his Savior, and that he is to be guided by the Word of the Lord

   and the teachings of Christ. Father Bernard’s sincerely held religious beliefs emanate from

   the Word of the Lord and from the teachings of Christ that provide for communing in the

   name of God to petition, to pray, to worship, and to give thanks, petition, supplication, and

   praise as a community and assemble two or more persons together.

25. These beliefs rooted in Scripture’s teachings include the belief that followers of Christ are

   not to forsake the assembling of themselves together and that the religious believers are to

   do so even more in times of peril and crisis. In fact, the purpose of the church (in Greek it

   is “ekklesia” which means “assembly”) is to assemble together the devout who are

   Christians to worship God together.

26. The Directive is unconstitutionally overbroad and invalid both facially and as-applied to

   Father Bernard. Requiring Father Bernard to abstain from religious gatherings, despite the

   availability of less-restrictive measures to achieve any purportedly compelling

   governmental interests, has deprived Father Bernard of rights and privileges under the

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   United States Constitution. Defendant did not undertake the least-restrictive measures to

   achieve any purportedly compelling governmental interests. Indeed, Governor Lamont’s

   occupancy caps provide appropriate less-restrictive measures that limit the spread of

   Covid-19.

27. Despite the Revised Directive, Father Bernard has suffered serious and irreparable harm to

   his rights under the First Amendment to the United States Constitution. And Father Bernard

   has no adequate remedy at law to prevent such harm in the future unless Defendant is

   enjoined from re-issuing and re-implementing the Directive or any similar order. Pursuant

   to 42 U.S.C. §§ 1983 and 1988, Father Bernard is thus entitled to declaratory relief and

   permanent injunctive relief.

28. Father Bernard is entitled to an award of attorney’s fees and costs pursuant to 42 U.S.C. §

   1988.

             Count Two – Violation of First Amendment Freedom of Speech
29. Father Bernard hereby realleges and incorporates each and every allegation contained in

   paragraphs 1-28 above.

30. Defendant acted under the color of state law when he issued the Directive. The Directive,

   and Defendant’s enforcement thereof, violate the First Amendment, both facially and as-

   applied to Father Bernard. Father Bernard engages daily in private protected speech under

   the First Amendment through communal prayer, teaching, and discourse.

31. The Directive is unconstitutionally overbroad and invalid both facially and as-applied to

   Father Bernard. By banning Father Bernard from exercising speech under the First

   Amendment, despite the availability of less-restrictive measures to satisfy any purportedly

   compelling governmental interests, the Directive is substantially overbroad and has

   deprived Father Bernard of rights and privileges under the United States Constitution.

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32. Defendant did not undertake the least-restrictive measures to achieve any purportedly

   compelling government interest. Indeed, Governor Lamont’s occupancy caps provide

   appropriate less-restrictive measures that limit the spread of Covid-19.

33. Despite the Revised Directive, Father Bernard has suffered serious and irreparable harm to

   his rights under the First Amendment to the United States Constitution. And Father Bernard

   has no adequate remedy at law to prevent such harm in the future unless Defendant is

   enjoined from re-issuing and re-implementing the Directive or any similar order. Pursuant

   to 42 U.S.C. §§ 1983 and 1988, Father Bernard is thus entitled to declaratory relief and

   permanent injunctive relief.

34. Father Bernard is entitled to an award of attorney’s fees and costs pursuant to 42 U.S.C. §

   1988.

             Count Three – Violation of First Amendment Free Exercise Clause
35. Father Bernard hereby realleges and incorporates each and every allegation contained in

   paragraphs 1-34 above.

36. Defendant acted under the color of state law when he issued the Directive. The Directive,

   and Defendant’s enforcement thereof, violate the First Amendment, both facially and as-

   applied to Father Bernard. The Directive is neither neutral nor of general application.

   Rather, it specifically and explicitly singles out religious gatherings and imposes a

   wholesale prohibition on them while comparable secular gatherings and functions are

   permitted to continue. This disparate treatment sweeps far beyond an incidental effect on

   religion and unlawfully abridges Father Bernard’s right of religious exercise under the

   United States Constitution.

37. Father Bernard has sincerely held religious beliefs including that scripture is the Word of

   the Lord, that Jesus Christ is his Savior, and that he is to be guided by the Word of the Lord

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   and the teachings of Christ. Father Bernard’s sincerely held religious beliefs emanate from

   the Word of the Lord and from the teachings of Christ that provide for communing in the

   name of God to petition, to pray, to worship, and to give thanks, petition, supplication, and

   praise as a community and assemble two or more persons together.

38. These beliefs rooted in Scripture’s teachings include the belief that followers of Christ are

   not to forsake the assembling of themselves together and that the religious believers are to

   do so even more in times of peril and crisis. In fact, the purpose of the church (in Greek it

   is “ekklesia” which means “assembly”) is to assemble together the devout who are

   Christians to worship God together.

39. Defendant did not undertake the least-restrictive measures to achieve any purportedly

   compelling governmental interests. Indeed, Governor Lamont’s occupancy caps provide

   appropriate less-restrictive measures that limit the spread of Covid-19.

40. Despite the Revised Directive, Father Bernard has suffered serious and irreparable harm to

   his rights under the First Amendment to the United States Constitution. And Father

   Bernard has no adequate remedy at law to prevent such harm in the future unless Defendant

   is enjoined from re-issuing and re-implementing the Directive or any similar order.

   Pursuant to 42 U.S.C. §§ 1983 and 1988, Father Bernard is thus entitled to declaratory

   relief and permanent injunctive relief.

41. Father Bernard is entitled to an award of attorney’s fees and costs pursuant to 42 U.S.C.

   § 1988.

         Count Four – Violation of First Amendment Establishment Clause

42. The Plaintiff hereby realleges and adopts each and every allegation in paragraphs 1-41

   above.



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43. Defendant acted under the color of state law when he issued the Directive. The Directive,

   and Defendant’s enforcement thereof, violate the First Amendment, both facially and as-

   applied to Father Bernard. The Directive advances no secular purpose. Indeed, it

   specifically and explicitly singles out religious gatherings while secular gatherings are

   permitted to remain open. Its primary effect inhibits the exercise of religion by preventing

   Father Bernard and similarly situated individuals from engaging in religious practices.

   Defendant has failed to avoid excessive government entanglement with religion.

44. This disparate treatment has deprived Father Bernard of his right to be free from

   sponsorship, financial support, and active involvement of the sovereign in religious activity

   under the United States Constitution.

45. Despite the Revised Directive, Father Bernard has suffered serious and irreparable harm to

   his rights under the First Amendment to the United States Constitution. And Father

   Bernard has no adequate remedy at law to prevent such harm in the future unless Defendant

   is enjoined from re-issuing and re-implementing the Directive or any similar order.

   Pursuant to 42 U.S.C. §§ 1983 and 1988, Father Bernard is thus entitled to declaratory

   relief and permanent injunctive relief.

46. Father Bernard is entitled to an award of attorney’s fees and costs pursuant to 42 U.S.C.

   § 1988.

   Count Five – Violation of Equal Protection Clause Under Fourteenth Amendment

47. Father Bernard hereby realleges and incorporates each and every allegation contained in

   paragraphs 1-46 above.

48. Defendant acted under the color of state law when he issued the Directive. The Directive,

   and Defendant’s enforcement thereof, violate the Fourteenth Amendment, both facially and

   as-applied to Father Bernard. Defendant intentionally and arbitrarily treated religious
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   institutions differently than their secular counterparts. This disparate treatment impinged

   Father Bernard’s fundamental rights to practice his faith, exercise private religious speech

   freely, and assemble peacefully, depriving him of equal protection under the United States

   Constitution.

49. Defendant did not undertake the least-restrictive measures to achieve any purportedly

   compelling governmental interests. Indeed, Governor Lamont’s occupancy caps provide

   appropriate less-restrictive measures that limit the spread of Covid-19.

50. Despite the Revised Directive, Father Bernard has suffered serious and irreparable harm to

   his rights under the First Amendment to the United States Constitution. And Father

   Bernard has no adequate remedy at law to prevent such harm in the future unless Defendant

   is enjoined from re-issuing and re-implementing the Directive or any similar order.

   Pursuant to 42 U.S.C. §§ 1983 and 1988, Father Bernard is thus entitled to declaratory

   relief and permanent injunctive relief.

51. Father Bernard is entitled to an award of attorney’s fees and costs pursuant to 42 U.S.C.

   § 1988.




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WHEREFORE, Father Bernard seeks the following relief:

         A. An order and judgment declaring that the Directive, facially and as-applied to
            Father Bernard, violated the First and Fourteenth Amendments to the United
            States Constitution;

         B. An order permanently enjoining and prohibiting Defendant from enforcing the
            Directive or any similar order against him in the future;

         C. Actual and punitive damages pursuant to § 1983;

         D. Money damages;

         E. Attorney’s costs and fees pursuant to 42 U.S.C. § 1988; and

         F. Such other relief as this Court deems fair and equitable.

                                              Respectfully submitted,
                                              THE PLAINTIFF

                                              By: /s/ Marc J. Herman
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                               CERTIFICATION OF SERVICE

   I hereby certify that on the date hereof, a copy of the foregoing was filed electronically. Notice

of the foregoing filing and this Certification of Service will be sent by e-mail to all parties by

operation of the Court's electronic filing system and by mail to any parties who are unable to accept

electronic filing. Parties may access the foregoing filings and this Certification of Service through

the Court's system.




                                               /s/ Marc J. Herman
                                               Marc J. Herman, Esq.




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